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             IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA
 ____________________________________
                                       :
 S.E. FOSTER CONSTRUCTION              :
 COMPANY                               :
                                       :
                   Plaintiff,          :
                                       :
        vs.                            :   Civil Action No. 1:06CV00876
                                       :
 SPARTAN ENTERPRISES, INC.             :
                                       :
                   Defendant.          :
 ____________________________________:

                       CONSENT MOTION FOR EXTENSION OF
                        DISCOVERY COMPLETION DEADLINE

        Plaintiff S.E. Foster Construction Company (“S.E. Foster”) and Defendant Spartan

 Enterprises, Inc. (“Spartan”), by their respective undersigned counsel, hereby move for a

 brief extension of the deadline for completion of fact discovery through and including

 February 1, 2007, and as grounds therefor state the following:

        1.      Pursuant to the Scheduling Order, the deadline for completion of fact

 discovery is January 19, 2007.

        2.      Pursuant to the Scheduling Order, there is a Status Conference scheduled

 with Judge Friedman on February 2, 2007.

        3.      The parties request a brief extension of the fact discovery completion

 deadline to complete depositions of the parties and obtain remaining documents from the

 owner of the subject construction project. Pursuant to a subpoena issued by Spartan, the

 owner of the subject construction project was required to produce documents by January 8,

 2007. However, the project owner (a non-party to this litigation) has requested an extension
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 of time to produce its documents, and the owner’s documents are expected shortly. Because

 of prior scheduling conflicts and the response by the project owner, the depositions of the

 parties are scheduled to take place on January 23-25th, and during the week of January 29th.

        4.      Although the Scheduling Order contemplates expert witness discovery

 subsequent to the completion of fact discovery, neither S.E. Foster nor Spartan have named

 any expert witnesses. As such, the parties will not require any additional time to complete

 expert discovery.

        5.      There have been no prior requests or extensions of the deadlines contained in

 the Scheduling Order, and the requested extension of time will not cause any delay in any

 dates in the Scheduling Order. Since there will be no follow-on expert discovery after

 completion of fact discovery, the parties will be in a position at the February 2nd Status

 Conference to discuss trial dates and alternative dispute resolution, and the parties intend to

 request the soonest available trial date.

        6.      Accordingly, the parties respectfully request that the Court grant the Motion

 and enter an Order extending the deadline for completion of fact discovery through and

 including February 1, 2007.




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                                       Respectfully submitted,


                                                         /s/
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                                       Inc.




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                                            CERTIFICATE OF SERVICE

       I certify that the foregoing Consent Motion was served on this 16th day of January
 2007 by email upon:

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